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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Criminal No. 20-245 (WMW/HB)

 UNITED STATES OF AMERICA,

                     Plaintiff,

       v.                                  THE UNITED STATES’ POSITION ON
                                           SENTENCING
 RICHARD ALONZO WOODS,

                     Defendant.

      The United States of America, by and through its undersigned attorneys, hereby

respectfully submits its position and memorandum on sentencing. For the reasons that

follow, the United States recommends a sentence of imprisonment of 298 months, the

bottom of Mr. Woods’ advisory guidelines range, as a sentence that is sufficient but not

greater than necessary to comport with the various Section 3553(a) factors.

             RELEVANT FACTS AND PROCEDURAL BACKGROUND

      1. The Plea, Offense Conduct, and Guidelines Calculations

      On November 10, 2021, Mr. Woods pled guilty to Counts 1-5 and 8 of the

Indictment. These counts charge him with: Interference with Commerce by Robbery

(“Hobbs Act Robbery”) in violation of 18 U.S.C. §§ 2 and 1951 (Count 1); Armed Bank

Robbery, in violation of 18 U.S.C. §§ 2113(a) and (d) (Counts 2-3); Carrying a Firearm

During and In Relation to a Crime of Violence, in violation of 18 U.S.C. § 924(c) (Counts

4-5); and Conspiracy to Commit Armed Bank Robbery, in violation of 18 U.S.C. § 371

(Count 8).
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       The United States agrees with, and incorporates by reference, the facts from the

“Offense Conduct” section of the PSR (¶¶ 8-17), as well as those facts from the parties’

Plea Agreement (ECF 56 ¶ 2). To summarize, between February 4, 2018, and May 4, 2018,

Mr. Woods committed three armed robberies – stealing roughly $97,309 in cash and

merchandise from two banks and one business. Mr. Woods had at least one associate who

assisted him with each of the robberies, and each robber (including Mr. Woods) brandished

a firearm.

       The United States agrees with the PSR’s conclusion as to Mr. Woods’ adjusted

offense level, criminal history category, and sentencing guidelines range. (PSR ¶¶ 155-

158.) Mr. Woods’ advisory guidelines range is 298-330 months imprisonment, which

represents mandatory minimum, consecutive sentences of 84 months each on Counts 4-5,

plus 130-162 months’ on Counts 1, 2, 3 and 8. The United States also agrees with the

PSR’s conclusion that the amount of restitution owed is $97,309.79 and is payable as set

forth in paragraph 170 as follows:




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       2. Mr. Woods’ History and Characteristics

       Mr. Woods is a 38-year-old man with an extensive criminal history. Prior to

committing the instant offense conduct in early 2018, when he was 34 years old, he had

been convicted of six felonies: third degree sale of controlled substances in 2001 and 2002

(age 18 and 19); offering a forged check in 2002 (age 19); fifth degree possession of

controlled substances in 2005 (age 23); and being a felon in possession of a firearm in 2006

and 2012 (ages 22 and 28). The 2012 conviction was a federal case, for which Mr. Woods

received a sentence of 77 months in prison. (PSR ¶ 87; see also U.S. v. Woods, 12-CR-131

(SRN).) Notably, Mr. Woods committed the instant offenses while on federal supervised

release for that 2012 conviction. In fact, Mr. Woods committed the robbery described at

Count 1 of the Indictment on February 4, 2018, just three days after he began his term of

supervised release. (PSR ¶ 87.) On May 18, 2018, just two weeks after he robbed Bremer

Bank as described at Count 3 of the Indictment, Minneapolis Police responding to a call

about a shooting attempted to conduct a traffic stop a vehicle Mr. Woods was driving.

(PSR ¶ 91.) Mr. Woods led police on a chase for approximately 16 blocks before stopping.

Officers recovered a .380-caliber pistol on the front passenger floorboard and a 9-

millimeter semiautomatic pistol on the floorboard behind the passenger seat. The .380 was

loaded with five rounds of ammunition (including one round in the chamber). Seventeen

rounds of 9-millimeter ammunition were also recovered inside the vehicle. The .380

firearm had been reported stolen. Mr. Woods was federally charged for that incident –

which also occurred while he was on supervised release for the 2012 case. (PSR ¶ 91; U.S.

v. Woods, 18-CR-153.) Mr. Woods pled guilty and was sentenced to another term of 77
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months’ imprisonment; he has been in federal custody on that matter since May 24, 2018.

(PSR F.2.)

       Growing up, Mr. Woods experienced trauma that no child should endure. (PSR ¶¶

111-115.) He never had a relationship with his father. Mr. Woods’ mother was addicted

to drugs and spent time in prison while he was young. He was severely abused by his

mother’s husband around age 6, and his mother chose to remain with her abuser rather than

retain custody of Mr. Woods and his siblings. He then lived in foster care and later, with

his grandmother, in a neighborhood that was riddled with gangs and poverty. By age 10 or

11 Mr. Woods was selling drugs to help with household expenses. Not surprisingly, he

showed mental health struggles including anger and violent tendencies beginning at a

young age, and he continues to suffer from various mental and physical ailments.

                                      ARGUMENT

       In following the sentencing methodology laid out by the Supreme Court, “a district

court should begin all sentencing proceedings by correctly calculating the applicable

Guidelines range.” Gall v. United States, 552 U.S. 38, 49 (2007). “[A]fter giving both

parties an opportunity to argue for whatever sentence they deem appropriate, the district

judge should then consider all of the § 3553(a) factors to determine whether they support

the sentence requested by a party.” Id. at 49-50. Section 3553(a) requires the Court to

consider a number of factors, including “the nature and circumstances of the offense,” “the

history and characteristics of the defendant,” “the need for the sentence to reflect the

seriousness of the offense,” “the need for deterrence,” “the need to protect the public from

further crimes of the defendant,” and “the need to avoid unwarranted disparities.” 18
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U.S.C. § 3553(a). But a district court is not required to provide a mechanical recitation of

the Section 3553(a) factors and “has wide latitude to weigh the § 3553(a) factors in each

case and assign some factors greater weight than others in determining an appropriate

sentence.” United States v. Ballard, 872 F.3d 883, 885 (8th Cir. 2017); United States v.

San-Miguel, 634 F.3d 471, 475-76 (8th Cir. 2011).

        For the reasons stated herein, the United States advocates for a sentence of 298

months as a sentence that is sufficient but not greater than necessary to comply with the

purposes set forth in Section 3553(a)(2).

        A.     The Guidelines Calculations

        As set forth above, the United States agrees with the calculated total offense level

and criminal history category, resulting in the Guidelines range of 298-330 months’

imprisonment, with an applicable minimum-mandatory term of 168 months. (PSR ¶¶ 155-

158.)

        B.     The 3553(a) Factors

        A consideration of all the 3553(a) factors warrants a sentence of 298 months’

imprisonment. As noted above, Mr. Woods committed a series of armed robberies in early

2018 while on federal supervised release for a firearms charge. He had committed multiple

felonies prior to that first federal case, and he committed an additional firearms offense

after the robberies. During the bank robberies, Mr. Woods pointed a gun at the victim bank

tellers and ordered them to comply with his demands. Victim impact statements from a

teller and customer at one of the banks describe the psychological aftermath of being

robbed at gunpoint by masked men. They noted suffering from anxiety, depression, sleep
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disorder, panic disorder, and other symptoms. The bank teller left her job after the robbery,

and the customer has not entered any bank since the incident.

       A significant sentence is necessary to reflect the severity of Mr. Woods’ crimes. On

balance, a sentence of 298 months would serve the needs of sentencing to reflect the

seriousness of the offense, to promote respect for the law, to provide just punishment for

the offense, to afford adequate deterrence, to protect the public from further crimes of the

defendant, and to avoid unwarranted sentencing disparities among defendants. Mr. Woods

could also potentially benefit from substance-abuse treatment and mental-health

programming while incarcerated with the BOP.

       Additionally, the United States respectfully asks the Court order Mr. Woods to pay

restitution as set forth in paragraph 170 of the PSR, and order that he be required to pay 50

percent of his UNICOR wages toward restitution or, if not working UNICOR, not more

than $25 per quarter described in the parties’ plea agreement. (ECF 56 ¶ 13.)

                                     CONCLUSION

       For all the foregoing reasons, the United States respectfully recommends that the

Court impose a sentence of 298 months’ imprisonment, restitution as provided herein,

followed by three to five years of supervised release.

Dated: March 2, 2022                              Respectfully submitted,

                                                  CHARLES J. KOVATS, JR.
                                                  Acting United States Attorney

                                                  s/ Amber M. Brennan
                                                  BY: AMBER M. BRENNAN
                                                  Assistant U.S. Attorney

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